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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────
SICHENZIA ROSS FERENCE LLP,
                                                  20-cv-9811 (JGK)
                        Plaintiff,
                                                  ORDER
             - against -

DIGITAL POWER CORPORATION, ET AL.,

                    Defendants.
────────────────────────────────────
JOHN G. KOELTL, District Judge:

     The plaintiff will file an amended complaint by January 25,

2021.    The Court has referred the case to the mediation panel.

The parties should report back to the Court on the status of the

case within 7 days after the conclusion of mediation.            The

defendants’ time to move or answer is extended to 14 days after

the conclusion of the mediation.         If the defendants file a

motion, no pre-motion conference is necessary.            The time to

respond to a motion to dismiss is 14 days, and the time to reply

is 7 days.     If the defendants file an answer, the parties should

submit a 26(f) report within 14 days after the answer is filed.

     The defendants’ motion for a more definitive statement is

denied as moot.      The Clerk is directed to close docket No. 14.

SO ORDERED.

Dated:       New York, New York
             January 12, 2021
                                     _______/s/ John G. Koeltl________
                                              John G. Koeltl
                                         United States District Judge
